      Case 5:23-cr-00171-SSS Document 39 Filed 01/26/24 Page 1 of 2 Page ID #:297



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2    MACK E. JENKINS
     Assistant United States Attorney
3    Chief, Criminal Division
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4    Assistant United States Attorney
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8    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
9
                              UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                     ED CR No. 23-171-SSS
12
                 Plaintiff,                        NOTICE THAT THE UNITED STATES
13                                                 WILL NOT SEEK AN ORDER OF
                        v.                         CRIMINAL FORFEITURE IN THIS CASE
14
     PAUL JOHN GOLLOGLY,
15
                 Defendant.
16

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18         Plaintiff United States of America, by and through its counsel of record, the
19   United States Attorney for the Central District of California and Assistant United States
20   //
21   //
22   //
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     Case 5:23-cr-00171-SSS Document 39 Filed 01/26/24 Page 2 of 2 Page ID #:298




 1   Attorney Sean D. Peterson, hereby provides notice that it will not seek an order of
 2   criminal forfeiture in this case.
 3
 4
 5    Dated: January 26, 2024                 Respectfully submitted,
 6                                            E. MARTIN ESTRADA
                                              United States Attorney
 7
                                              MACK E. JENKINS
 8                                            Assistant United States Attorney
                                              Chief, Criminal Division
 9
                                                 /s/
10                                            SEAN D. PETERSON
                                              Assistant United States Attorney
11
                                              Attorneys for Plaintiff
12                                            UNITED STATES OF AMERICA
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